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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

JOHN DOE,
                                Plaintiff,                           NOTICE OF MOTION

                      v.                                                 Civil Action No.
                                                                     5:17-cv-01298 (FJS/ATB)
COLGATE UNIVERSITY,

                                Defendant.



       PLEASE TAKE NOTICE, that for the reasons set forth in the accompanying Declaration

of Laura H. Harshbarger, Esq., executed on July 29, 2019, with Exhibits A-B; Declaration of

Valerie Brogan, executed on July 23, 2019, with Exhibits A-B; Declaration of Aaron Solle,

executed on July 22, 2019; Declaration of Kimberly Taylor, executed on July 29, 2019, with

Exhibits A-P; Declaration of Marilyn Rugg, executed on July 23, 2019, with Exhibits A-C;

Declaration of Mark Thompson, executed on July 24, 2019, with Exhibits A-C; Declaration of

Susan Smith, executed on July 25, 2019, with Exhibits A-B; Declaration of Sarah Jones,

executed on July 26, 2019; Declaration of Douglas Johnson, executed on July 18, 2019;

Defendant’s Statement of Undisputed Material Facts; and Defendant’s Memorandum of Law,

Defendant Colgate University, will move this Court before the Hon. Frederick J. Scullin, Jr.,

United States District Court Judge, at the Federal Building and U.S. Courthouse, 100 South

Clinton Street, Syracuse, New York, on September 13, 2019 at 10:00 a.m., or as soon thereafter

as counsel may be heard, for an Order pursuant to Rule 56 of the Federal Rules of Civil




                                                                                           3384674.1
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Procedure granting Defendant summary judgment on all causes of action and dismissing

Plaintiff’s Complaint in its entirety against Defendant Colgate University.

Dated: July 29, 2019                                 BOND, SCHOENECK & KING, PLLC

                                                     By: /s/ Laura H. Harshbarger
                                                             Laura H. Harshbarger, Esq. (509779)
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